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 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
   555 UNIVERSITY AVENUE, SUITE 290
 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE: (916) 649-2006
 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     DANA SCOTT MCINTIRE
 6
 7               IN THE UNITED STATES DISTRICT COURT FOR THE
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,      )              CR.NO. S-06-0253-JAM
10                                  )
          PLAINTIFF,                )
11                                  )              STIPULATION AND ORDER
          v.                        )              TO VACATE JUDGMENT AND
12                                  )              SENTENCING DATE AND SET A
     DANA SCOTT MCINTIRE, et. al., )               MOTIONS SCHEDULE AND
13                                  )              HEARING DATE
                                    )
14        DEFENDANTS.               )
                                    )
15   ______________________________)
16
           Plaintiff United States of America, by its counsel, Assistant United States
17
     Attorney, Mr. Jason Hitt and defendant Dana Scott McIntire, by his attorney, Mr.
18
     James R. Greiner, hereby stipulate and agree that the current Judgment and
19
     sentencing date of Tuesday, September 15, 2009, can and should be vacated, as to
20
     defendant Dana McIntire only.
21
           The parties, plaintiff United States of America, by its counsel, Assistant United
22
     States Attorney, Mr. Jason Hitt and defendant Dana Scott McIntire, by his attorney,
23
     Mr. James R. Greiner, hereby stipulate and agree that the following motion schedule
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     can be adopted by the Court:
25
           Defense to file motions on or before Tuesday, October 6, 2009
26
           Government to file any opposition on or before October 20, 2009;
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28                                             1
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 1         Defense to file any reply on or before October 27, 2009;
 2         Hearing on November 3, 2009, at 9:30 a.m..
 3
           The Court’s courtroom deputy, Mr, Harry Vine, has been contacted to ensure
 4
 5   the Court’s calendar was available for hearing the motion on that date and the Court

 6   is available on Tuesday, November 2, 2009.
 7
           It is so stipulated and agreed.
 8
 9                                    LAWRENCE G. BROWN
10
                                      ACTING UNITED STATES ATTORNEY

11                                    /s/ Jason Hitt -by in person authorization
12
     DATED: 8-21-09                   _____________________________________
13                                    Jason Hitt
14                                    ASSISTANT UNITED STATES ATTORNEY
                                      ATTORNEY FOR THE PLAINTIFF
15
16
17   DATED: 8-21-09                   /s/ James R. Greiner
                                      _______________________________________
18                                    James R. Greiner
19                                    Attorney for Defendant Dana McIntire
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   ///
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 1                                      ORDER
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 3
          FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
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 5
 6   DATED: August 21, 2009.
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 9
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12
                            /s/ John A. Mendez
                            JOHN A. MENDEZ
13                          UNITED STATES
14                          DISTRICT COURT JUDGE
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